    Case 3:22-cv-02095-C Document 12 Filed 12/27/22                   Page 1 of 1 PageID 45



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTzuCT OF TEXAS
                                     DALLAS DIVISION

RANDA M. RHODES,                                 )
                                                 )
                        Plaintiff.               )
                                                 )
                                                 )
                                                 )
CREDIT GLORY. INC.,                              )
                                                 )
                        Defendant.               )    Civil Action No. 3:22-CV-2095-C


                                     DEFAULT JUDGMENT

       On this date, the Court considered Plaintiff s Motion for Default Judgment, the

Court flnds Plaintiff's Motion should be GRANTED.

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that dclault

judgment is entered in favor of Plaintilf against Defendant in the amount of:

       (1) actual damages of$17,500.00;

       (2) attomey's fees and costs of$2,480.10;

       (3) post-judgment interest at the applicable statutory rate.
                       nnl
        Signed this   / / day ol December. 2022.



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                                              SA           C    INGS
                                                     IOR       ED STATE            CT.IUDGE


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